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                                 UNITED STATES DISTRICT COURT
                                      Northern District of Illinois
                                      219 South Dearborn Street
                                        Chicago, Illinois 60604

Thomas G. Bruton                                                                  312-435-5670
Clerk



Date: 6/6/22


Re: Winger v. The Quaker Oats Company

USDC Case Number: 22cv2023

Dear Clerk:

Pursuant to the order entered by Honorable John Robert Blakey, on 6/6/2, the above record was

 X        electronically transmitted to Southern District of New York.




Please acknowledge receipt of any paper documents on the enclosed copy of this letter.


                                                        Sincerely,
                                                        Thomas G. Bruton, Clerk

                                                        By:     /s/ G. Young
                                                                Deputy Clerk


New Case No. ____________________________                      Date _____________________


cc:       Non-ECF Attorneys and Pro se Parties




Rev. 09/23/2016
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